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12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN JOSE DIVISION
14

15   UNITED STATES OF AMERICA,                        )   Case No. 18-CR-00258 EJD
                                                      )
16           Plaintiff,                               )   DECLARATION OF VANESSA BAEHR-JONES
                                                      )   IN SUPPORT OF UNITED STATES’ OPPOSITION
17      v.                                            )   TO DEFENDANT ELIZABETH HOLMES’S
                                                      )   MOTION TO EXCLUDE EXPERT TESTIMONY
18   ELIZABETH HOLMES and RAMESH                      )   OR, IN THE ALTERNATIVE, COMPEL
     “SUNNY” BALWANI,                                 )   ADEQUATE RULE 16 DISCLOSURE
19                                                    )
             Defendants.                              )
20                                                    )

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22           I, Vanessa Baehr-Jones, declare:
23           1.       I am an Assistant United States Attorney (AUSA) representing the United States of
24 America, the plaintiff in this case.

25           2.       Attached hereto as Exhibit 1 is a true and correct copy of a Memorandum of Interview
26 (MOI) of Dr. Steve Linnerson.

27           3.       Attached hereto as Exhibit 2 is a true and correct copy of an MOI of Dr. Audra Zachman.
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     DECL. OF VANESSA BAEHR-JONES
     18-CR-00258 EJD
                 Case 5:18-cr-00258-EJD Document 442 Filed 07/10/20 Page 2 of 2




 1          4.       Attached hereto as Exhibit 3 is a true and correct copy of an MOI of Dr. Edward Szmuc.

 2          5.       Attached hereto as Exhibit 4 is a true and correct copy of an MOI of Dr. John Couvaras.

 3          6.       Attached hereto as Exhibit 5 is a true and correct copy of emails sent and received by

 4 Defendant Elizabeth Holmes on September 29, 2014.

 5          7.       Attached hereto as Exhibit 6 is a true and correct copy of an MOI of Ms. JoEllen Embry.

 6          8.       Attached hereto as Exhibit 7 is a true and correct copy of a Federal Bureau of

 7 Investigation 302 Report of Dr. Gerald Asin.

 8          9.       Attached hereto as Exhibit 8 is a true and correct copy of a Federal Bureau of

 9 Investigation 302 Report of patient E.T.
10          10.      Attached hereto as Exhibit 9 is a true and correct copy of Defendant Ramesh Balwani’s

11 Petition to Appeal before the Ninth Circuit Court of Appeals in Case No. 20-80057.

12          11.      Attached hereto as Exhibit 10 is a true and correct copy of a Federal Bureau of

13 Investigation 302 Report of Dr. Curtis Page.

14          12.      I declare under penalty of perjury under the laws of the United States of America that the

15 foregoing is true and correct and that this declaration is executed at Oakland, California, on July 10,

16 2020.

17 DATED: July 10, 2020                                          ______/s/___________________

18                                                        VANESSA BAEHR-JONES
                                                          Assistant United States Attorney
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     DECL. OF VANESSA BAEHR-JONES
     18-CR-00258 EJD
